                                       Case 3:20-cv-04679-WHA Document 325 Filed 08/02/23 Page 1 of 1




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                                   6                                  UNITED STATES DISTRICT COURT

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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                  10   AASYLEI LOGGERVALE, AAOTTAE
                                       LOGGERVALE, and AASYLEI HARDGE-
                                  11   LOGGERVALE,                                         No. C 20-04679 WHA

                                  12                   Plaintiffs,
Northern District of California
 United States District Court




                                  13           v.                                          SECOND REQUEST FOR
                                                                                           INFORMATION
                                  14   STEVEN HOLLAND, MONICA POPE,
                                       and COUNTY OF ALAMEDA,
                                  15
                                                       Defendants.
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                                            Counsel’s submitted response (Dkt. No. 324) is not what the Court asked. By
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                                       TOMORROW AT 9 AM, counsel shall answer the question directly (namely, what was the
                                  19
                                       specific contingent fee arrangement before the trial) and provide a copy of that fee agreement
                                  20
                                       to the Court.
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                                            IT IS SO ORDERED.
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                                       Dated: August 2, 2023.
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                                  27                                                         WILLIAM ALSUP
                                                                                             UNITED STATES DISTRICT JUDGE
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